2111-CC00564

IN THE ELEVENTH JUDICIAL CIRCUIT, STATE OF MISSOURI
CIRCUIT JUDGE DIVISION

VICTORIA O'CONNOR, )
Plaintiff, ) Cause No.:
)
V. ) Division:
)
TARGET CORPORATION, ) JURY TRIAL DEMANDED
Defendant. )
Serve at: )
CT Corporation System )
120 South Central Avenue )
Clayton, MO 63105 )
PETITION FOR DAMAGES

 

COMES NOW Plaintiff, Victoria O'Connor, by and through undersigned counsel, and for

her Petition for Damages states as follows:

PARTIES
Plaintiff Victoria O’Connor is, and at all relevant times was, a resident of St. Charles
County, Missouri.
Defendant Target Corporation (hereinafter “Target”) is a Minnesota corporation
registered with the Missouri Secretary of State to conduct business in this state.

JURSIDICTION AND VENUE

. This Court has jurisdiction pursuant to RSMo. §506.500.

. Venue is proper in this Court pursuant to RSMo. §508.0101, in that Plaintiff was first

injured in St. Charles County, Missouri.

ALLEGATIONS COMMON TO ALL COUNTS

. Atall times mentioned herein, Defendant Target owned, leased, operated, managed,

maintained, and/or controlled the premises and property known as Target located at 3881

Mexico Road, St. Charles, Missouri (hereinafter “the Premises”).

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On September 7, 2019, Plaintiff was an invitee of Defendant Target at the Premises.
At that time and place, Plaintiff was moving a piece of carpeting on an overhead shelf.
At that time and place, a portion of the metal shelving detached and struck Plaintiff in the
head.

COUNT I— PREMISES LIABILITY

Plaintiff incorporates and realleges Paragraphs | through 8 as if fully restated herein.

. The shelving unit was assembled in such a manner such that parts could detach and fall

and as such the store was not reasonably safe.

. Defendant Target knew or by using ordinary care could have known of this condition.

. Defendant Target failed to use ordinary care to remove, barricade, or warn of this

condition.
As a direct and proximate result of such failure, Plaintiff suffered painful, disabling, and

permanent injuries to her head, face, and brain.

. As a direct and proximate result of the injuries described above, Plaintiff sustained

suffering and pain, and her ability to enjoy life is diminished and impaired, all of which
will continue into the future.

As a direct and proximate result of the injuries described above, Plaintiff has incurred
medical expenses to cure or relieve the effects of her injuries.

As a direct and proximate result of the injuries described above, Plaintiff will incur future
medical expenses to cure or relieve the effects of her injuries.

As a direct and proximate result of the injuries described above, Plaintiff has lost, and

will lose in the future, income and wages.

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WHEREFORE, Plaintiff Victoria O’Connor prays for judgement against Defendant

Target Corporation for a sum in excess of Twenty-Five Thousand Dollars ($25,000.00) that will

fairly and justly compensate her for her damages, pre-judgment interest, costs incurred, and for

such other and further relief as this Court deems just and proper.

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COUNT II - NEGLIGENCE - RES IPSA LOQUITUR
Plaintiff incorporates and realleges Paragraphs | through 8 as if fully restated herein.
Defendant Target had control and management of the shelving unit that struck Plaintiff.
Metal shelving does not become detached when those in control exercise due care.
From the facts of such occurrence and the reasonable inferences therefrom, such
occurrence was directly caused by Defendant Target’s negligence.
As a direct and proximate result of such negligence, Plaintiff suffered painful, disabling,
and permanent injuries to her head, face, and brain.
As a direct and proximate result of the injuries described above, Plaintiff sustained
suffering and pain, and her ability to enjoy life is diminished and impaired, all of which
will continue into the future.
As a direct and proximate result of the injuries described above, Plaintiff has incurred

medical expenses to cure or relieve the effects of her injuries.

. As a direct and proximate result of the injuries described above, Plaintiff will incur future

medical expenses to cure or relieve the effects of her injuries.
As a direct and proximate result of the injuries described above, Plaintiff has lost, and
will lose in the future, income and wages.

WHEREFORE, Plaintiff Victoria O’Connor prays for judgement against Defendant

Target Corporation for a sum in excess of Twenty-Five Thousand Dollars ($25,000.00) that will

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fairly and justly compensate her for her damages, pre-judgment interest, costs incurred, and for

such other and further relief as this Court deems just and proper.

Respectfully Submitted,
CHASSANIOL & MARTY, LLC

/s/ Andrew H. Marty
Andrew H. Marty, #37158
Evan M. Bettag, #60932
5301 Veterans Memorial Pkwy, Suite 201
St. Peters, MO 63376
(636) 486-4861
(636) 922-0994 facsimile
andy@trialstl.com
evan@trialstl.com

Attorneys for Plaintiff

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JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

 

Judge or Division:
MICHAEL JAMES FAGRAS

Case Number: 2111-CC00564

 

 

Plaintiff/Petitioner: Plaintiff's/Petitioner’s Attorney/Address
VICTORIA O'CONNOR EVAN MICHAEL BETTAG
CHASSANIOL & MARTY LLC
5301 VETERANS MEMORIAL PKWY
SUITE 201
vs. | SAINT PETERS, MO 63376
Defendant/Respondent: Court Address:
TARGET CORPORATION 300 N 2nd STREET

 

Nature of Suit:
CC Pers Injury-Other

SAINT CHARLES, MO 63301

 

 

(Date File Stamp)

 

Summons in Civil Case

 

The State of Missouri to:

1000 NICOLLET MALL
MINNEAPOLIS, MN 55403

 

ST. CHARLES COUNTY

TARGET CORPORATION
Alias:
Serve at:
CT Corporation System
120 South Central Avenue
Clayton, MO 63105

You are summoned to appear before this court and to file your pleading to the petition, a
copy of which is attached, and to serve a copy of your pleading upon the attorney for
plaintiff/petitioner at the above address all within 30 days after receiving this summons,
exclusive of the day of service. If you fail to file your pleading, judgment by default may
be taken against you for the relief demanded in the petition.

7/16/2021 IS! Cheryl Crowder
Date Clerk

Further information:

 

 

Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
| certify that | have served the above summons by: (check one)

["] delivering a copy of the summons and a copy of the petition to the defendant/respondent.
(] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with

15 years who permanently resides with the defendant/respondent.
(7 (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:

Sheriff’s or Server’s Return

, a person of the defendant’s/respondent's family over the age of

 

 

 

 

 

 

 

 

 

 

 

 

(name) (title).
[J other:

Served at (address)
in (County/City of St. Louis), MO, on (date) at (time).
Printed Name of Sheriff or Server Signature of Sheriff or Server

Must be sworn before a notary public if not served by an authorized officer:
Subscribed and sworn to before me on (date).
(Seal)
My commission expires:
Date Notary Public
OSCA (06-18) SM30 (SMCC) For Court Use Only: Document id # 21-SMCC-1081 1 of 4 Civil Procedure Form No. 1; Rules 54.01 — 54.05,

54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo
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Sheriff's Fees, if applicable
Summons

Non Est $
Sheriffs Deputy Salary

Supplemental Surcharge $ 10.00
Mileage $
Total $

 

classes of suits, see Supreme Court Rule 54.

( miles @ $. per mile)

 

A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all

 

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-1081

1 of 1 Civil Procedure Form No. 1; Rules 54.01 — 54.05,

54.13, and 54.20; 506.120 — 506.140, and 506.150 RSMo

 
 

IN THE 11TH JUDICIAL CIRCUIT, ST. CHARLES COUNTY, MISSOURI

 

 

 

 

Judge or Division: Case Number: 2111-CC00564
MICHAEL JAMES FAGRAS
Plaintiff/Petitioner: Plainiiff's/Petitioner’s Attorney/Address
VICTORIA O'CONNOR EVAN MICHAEL BETTAG
CHASSANIOL & MARTY LLC
5301 VETERANS MEMORIAL PKWY
SUITE 201
vs. | SAINT PETERS, MO _ 63376
Defendant/Respondent: Court Address:
TARGET CORPORATION 300 N 2nd STREET
Nature of Suit: SAINT GHARLES, MO 63301
CC Pers Injury-Other (Date File Stamp)

 

 

 

Summons in Civil Case

 

The State of Missouri to: TARGET CORPORATION

Alias:
1000 NICOLLET MALL Serve at:
MINNEAPOLIS, MN 55403 CT Corporation System
120 South Central Avenue

Clayton, MO 63105
COURT SEAL OF
You are summoned to appear before this court and to file your pleading to the petition, a
copy of which is attached, and to serve a copy of your pleading upon the attorney for
plaintiff/petitioner at the above address all within 30 days after receiving this summons,
exclusive of the day of service. If you fall to file your pleading, Judgment by default may
be taken against you for the relief demanded in the petition.

 

ST. CHARLES COUNTY

7/16/2021 /S} Cheryl Crowder

Date Clerk
Further Information:
Sheriff's or Server's Return

Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
| certify that | have served the above summons by: (check one)
[7] delivering a copy of the summons and a copy of the petition to the defendant/respondent.
L_] leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
, a person of the defendant's/respondent's family over the age of

15 years who permanently resides with the defendant/respondent.

(for service on a corporation) delivering a copy of the summons and a copy, of the c

Bonaze re (name) __¢f

[J other:

Served at ie < Gutiel FEY OC? GE. (0 ws f440 6 Slot
in SO. Cove County (County/City of St. Louis), MO, on I5¢ pl

 

 

mp to:

LLG Kf bay

(title).

 

(address)

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gnttiin i ffinted Name of Sheriff or Server
Must be sworn before a notary public if n Vd erved el

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Subscribed and sworn to before,me o

   

My commission expires:

 

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Law
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Signature of Sheriff or Server
authorized he

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(date).

 

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NOTARY SEAE
Jefferson
“OQ, County S.

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Sheriff's Fees, If applicable
Summons

Non Est

Sheriff's Deputy Salary
Supplemental Surcharge

Mileage
Total
A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all

10.00
( miles @ $.

per mile)

 

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classes of sults, see Supreme Court Rule 54.

 

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCGC-1081 1 of 1 Civil Procedure Form No. 1; Rules 54.01 — 54.05,
54.13, and 54.20; 506.120 ~ 506.140, and 508.150 RSMo

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